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                         E~HIIT A
                        (Indemnification Claims)




DOGS L~1:317283.1
                                                                EXHIBIT A
                                                        (First Omnibus Objection)



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Geoffrey Armstrong                         399                      Unliquidated        o liability Pursuant to Section 5.06(a) of
                                                                                       he Plan

Frank E. Barnes III                        398                      Unliquidated        o liability Pursuant to Section 5.06(a} of
                                                                                                                                      Case 16-10238-MFW




                                                                                       he Plan
~ldrew Bazos                               401                      Unliquidated        o liability Pursuant to Section 5.06(a) of
                                                                                       he Plan
Timothy Bishop                             400                      Unliquidated        o liability Pursuant to Section S.Q6(a) of
                                                                                       he Plan
3ared Cohen                                212                      Ilnliquidated       o liability Pursuant to Section 5.06(a) of
                                                                                                                                      Doc 1816-2




                                                                                       he Plan
Pasquale Manocchia                         396                      Unliquidated        o liability Pursuant to Section 5.06(a} of
                                                                                       he Plan
Michael J. Meyer                           388                      Unliquidated        o liability Pursuant to Section 5.06(a} of
                                                                                       he Plan
Michael J. Meyer                           394                      Ui~liquidated       o liability Pursuant to Section 5.06(a) of
                                                                                       he Plan
Jolui D. Miller                            393                      Unliquidated        o liability Pursuant to Section 5.06(a) of
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                                                                                       ~he Plan
Joseph Rascaff                              397                     Unliquidated         o liability Pursuant to Section 5.06(a) of
                                                                                       he Plan
Edward Simon                                395                     Unliquidated         o liability Pursuant to Section 5.06(a} of
                                                                                       he Plan
Mitchell Slater                             389                     Unliquidated         o liability Pursuant to Section 5.06(a) of
                                                                                                                                      Page 2 of 3




                                                                                       he Plan
Mitchell Slater                             390                     Unliquidated         o liability Pursuant to Section 5.06(a} of
                                                                                       he Plan
Mitchell Slater                             391                     Uilliquidated        o liability Pursuant to Section 5.06(a) of
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Mitchell Slater                     392                Unliquidated   o liability Pursuant to Section 5.06(x) of
                                                                     he Plan
Mitchell Slater                     412                Unliquidated o liability Pursuant to Section S.Ob(a) of
                                                                     he Plan
Mitchell Slater                     413                Unliquidated o liability Pursuant to Section 5.06(a) of
                                                                     lie Plan
Mitchell Slater                     414                Ui~liquidated o liability Pursuant to Section 5.06(a) of
                                                                     he Plan
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